      Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 1 of 28




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION



FAIR FIGHT ACTION, INC., et al.,

      Plaintiffs,

v.                                          Civil Action File

BRAD RAFFENSPERGER, in his                  No. 1:18-cv-05391-SCJ
official capacity as Secretary of State
of Georgia; et al.,

      Defendants.




           DEFENDANTS’ RESPONSE IN OPPOSITION TO
            PLAINTIFFS’ MOTION FOR LEAVE TO FILE
                 SUPPLEMENTAL COMPLAINT
           Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 2 of 28




                                                   Table of Contents


Introduction ....................................................................................................................... 1
Background........................................................................................................................ 3
Legal Standard ................................................................................................................ 10
Argument ......................................................................................................................... 12
   I. Plaintiffs’ eleventh-hour motion cannot satisfy Rule 16(e)’s “manifest
   injustice” nor Rule 16(b)’s “good cause” standards. ............................................. 12
   II. Alternatively, Plaintiffs fail to satisfy the inapposite standard for Rule 15’s
   amendment. ................................................................................................................. 17
       A. Plaintiffs’ Motion will unduly delay this case. ............................................. 17
       B. Plaintiffs’ Motion represents bad faith. ......................................................... 19
       C. Granting Plaintiffs’ Motion would unduly prejudice Defendants. ........... 21
       D. Plaintiffs’ Motion is futile. ............................................................................... 22
Conclusion ....................................................................................................................... 23
       Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 3 of 28




                                INTRODUCTION

      It has been 1,254 days since Plaintiff Fair Fight Action (“Fair Fight”) filed

the complaint in this lawsuit. Doc. No. [1].1 405 days have passed since Governor

Kemp signed Senate Bill 202 into law. There have been 229 days since the

Plaintiffs asked to expand the case beyond the discovery limitations imposed.

Doc. No. [631]. 140 days have elapsed since the parties filed their first pretrial

order, Doc. No. [651], and 75 days since the parties submitted the amended trial

order. Doc. No. [721]. And, 40 days have passed since the Court entered the

Amended Final Consolidated Pretrial Order. Doc. No. [753].

      Despite this length of time, the examination of more than 25 witnesses at

trial or by videotaped deposition, and the Court’s recently entered scheduling

order, Doc. No. [813], Plaintiffs now seek to expand this case yet again by adding

a new claim (the Civil Rights Act) and a new challenged practice (SB 202’s

modification of the information on absentee-ballot envelopes). To these ends,

Plaintiffs’ Motion for Leave to File a Supplemental Complaint (“Motion”)

purports to seek a supplement to the Second Amended Complaint (“SAC”) and




1 The dates for Plaintiff Baconton Missionary Baptist Church (“Baconton”) are

not materially different.

                                        –1–
        Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 4 of 28




conspicuously ignores the existence of this Court’s amended pretrial order. The

error is fatal.

       The SAC became legally inoperative the moment the Court filed the

pretrial order.2 Thus, Plaintiffs’ Motion is procedurally improper; it can, and

should, be denied on this basis alone. This Court should not reward Plaintiffs’

inexplicable delay and eleventh-hour attempt to push finality in this case out for

months.

       But even if this Court were to consider the substance of Plaintiffs’ Motion,

it should further be denied because it involves: (1) unreasonable delay by

Plaintiffs in challenging a law that was enacted over a year earlier; (2) theories

that remain pending in another court in this district (brought by one of the other

Plaintiffs in this lawsuit); (3) the likely need for even more discovery after almost

three years of active pretrial litigation. And as to this third point, there is no

question that proceeding without discovery would cause undue prejudice to

Defendants. Despite Plaintiffs’ claims otherwise, Defendants are not required to




2 Whether this Court considers the December 21, 2021 Corrected Consolidated

Pretrial Order, Doc. No. [670], or the March 25, 2022 Amended Pretrial Order,
Doc. No. [753], the result is the same.

                                         –2–
       Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 5 of 28




blindly defend themselves against Plaintiffs’ novel claim (and proffered

summary judgment motion) without discovery.

      This conclusion is supported by the Federal Rules of Civil Procedure and

the cases that apply them. Indeed, this is not the first time Plaintiffs have sought

to inject new issues and delay into this nearly four-year-old lawsuit. When faced

with similar requests, this Court has denied Plaintiffs’ continuing efforts to

expand this case and, respectfully, it should do so again.

                                 BACKGROUND

      Plaintiffs’ SAC challenged the then-applicable law that required voters to

write their birthdate on the outside of an absentee ballot return envelope. The

claim was based on an alleged failure to “oversee, train, and advise counties

about the proper handling of absentee ballots.” Doc. No. [582], ¶¶ 133, 137, 141.

Plaintiffs did not raise a claim under the Civil Rights Act, despite their reliance

on two decisions that did.3 Id. at ¶ 139; see Democratic Party of Georgia, Inc. v.

Crittenden, 347 F. Supp. 3d 1324, 1331 (N.D. Ga. 2018) (Jones, J.) (“DPG”); Martin

v. Kemp, 1:18-CV-4776-LMM, 2018 WL 10509489, at *1 (N.D. Ga. Nov. 2, 2018)



3 The Civil Rights Act prohibits denying the right to vote because of an “error or

omission on any record or paper relating to any application, registration, or other
act requisite to voting,” if that error or omission is not material to determining a
voter’s qualifications. 52 U.S.C. § 10101(a)(2)(B).

                                        –3–
       Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 6 of 28




(May, J.). The omission substantively distinguishes the claims and this lawsuit

from Martin and DPG, which were also decided on limited records, an old

statute, and on an expedited basis of a preliminary injunction.

      Given that the absentee ballot birthdate issue in this case only arose within

Plaintiffs’ failure-to-train claim, discovery did not focus on the alleged

materiality or non-materiality of the birthdate requirement itself as it would in a

Civil Rights Act case. Discovery investigated questions about training, which

public officials are responsible for training others, and expert testimony. It was

also lengthy: it included over 100 depositions and the production of millions of

pages of documents. In 2020, discovery closed over Plaintiffs’ objections and

Defendants moved for summary judgment. In two briefs, Defendants attacked

Plaintiffs’ absentee-ballot claims for lacking evidence of causation, Doc. No. [450-

1], and for lacking jurisdiction due to HB 316’s removal of the birthdate

requirement mooting the claim altogether. Doc. No. [441-1].4

      Oral arguments on summary judgment and the cross-Daubert motions

were held in the fall of 2020 and January 2021. As the Court began its




4 At the time the briefs were filed, the General Assembly was not in session, the

2020 general election was still months away, and no one had introduced or pre-
filed SB 202 or anything like it.

                                        –4–
       Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 7 of 28




deliberations, the General Assembly reconvened on Monday, January 11, 2021. In

the wake of the 2020 elections, legislators considered election reform. See SB 202,

§ 2. Fair Fight intimately understood and vigorously opposed those efforts,

including legislators’ decision to reinstate the birthdate requirement on the

absentee ballot return envelope: “Fair Fight Action dedicated resources to

research and advocating against inclusion of a date-of-birth requirement for

absentee ballots.”5 Doc. No. [804-2], ¶ 13. As Fair Fight admits in its proposed

Supplemental Complaint, “[a]fter SB 202 passed, Fair Fight Action turned its




5 Fair Fight put out dozens of press statements on SB 202, including on the same

day that Governor Kemp signed the legislation. See, e.g., Stacey Abrams’ Statement
on Signing of Anti-Voter Power Grab SB 202, https://fairfight.com/stacey-abrams-
statement-on-signing-of-anti-voter-power-grab-sb-202/ (March 25, 2021); Kemp
Signs Anti-Voter Power Grab SB 202 After Georgia Republicans Force Through Bill on
Party-Line Vote, https://fairfight.com/kemp-signs-anti-voter-power-grab-sb-202-
after-georgia-republicans-force-through-bill-on-party-line-vote/ (March 25,
2021); BREAKING: Georgia Republicans Force Voter Suppression and Elections Power
Grab Bill SB 202 Through Committee on Party-Line Vote,
https://fairfight.com/breaking-georgia-republicans-force-voter-suppression-
and-elections-power-grab-bill-sb-202-through-committee-on-party-line-vote/
(March 22, 2021); Fair Fight Action and Voting Rights Groups Slam Rep. Fleming’s
Latest Last-Minute Voter Suppression Bill in Virtual Press Conference,
https://fairfight.com/fair-fight-action-and-voting-rights-groups-slam-rep-
flemings-latest-last-minute-voter-suppression-bill-in-virtual-press-conference/
(March 18, 2021).

                                       –5–
       Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 8 of 28




research and advocacy material into voter education materials to ensure voters

were aware of the date-of-birth requirement’s return into law.” Id.6

      While Fair Fight was debating election legislation at the State Capitol, this

Court was preparing its summary-judgment orders. They issued just before and

on the last night of the legislative session (the day Governor Kemp signed SB

202). Plaintiffs’ absentee-ballot claims were dismissed for lack of both jurisdiction

and causation. Doc. No. [612] at 64 (mootness); Doc. No. [617] at 24

(causation/merits).7




6 In sharp contrast to Fair Fight’s advocacy, Baconton does not allege it did

anything about SB 202 until this filing. Instead, it alleges only that one of the
issues it plans to focus on addressing in “the 2022 election cycle is the date-of-
birth requirement,” apparently for the very absentee ballots that Rev. Scott has
concerns about using. Doc. No. [804-2], ¶ 28.
7 Other developments continue to support the Court’s summary-judgment

decisions. For example, the Eleventh Circuit has since issued panel opinions
holding that county officials—not Defendants—process absentee ballots, which
deprives Plaintiffs of any ongoing traceability. See, e.g., Ga. Republican Party,
Inc. v. Sec’y of State for Ga., No. 20-14741-RR, 2020 WL 7488181 at *2 (11th Cir.
Dec. 20, 2020) (applying Jacobson v. Fla. Sec’y of State, 974 F.3d 1236 (11th Cir.
2020); Trump v. Kemp, 511 F. Supp. 3d 1325, 1333–34 (N.D. Ga. 2021) (holding
that “[u]nder Georgia election law, county election officials are solely responsible
for processing, validating, and tabulating both absentee and in-person ballots”);
Wood v. Raffensperger, No. 1:20-cv-5155-TCB, 2020 WL 7706833 at *6, n.6 (N.D.
Ga. Dec. 28, 2020) (citing Ga. Republican Party, 2020 WL 7488181 at *2). Further,
Plaintiffs’ Motion presents no evidence of a voter actually injured by the
birthdate requirement. Unlike the decisions in Martin and DPG, which were



                                        –6–
       Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 9 of 28




      About 405 days have passed since then, and until last week, Fair Fight has

worked against SB 202 almost everywhere but the courts. For its part, Baconton

appears to have done nothing. For example, more than a year ago, Fair Fight

crafted an “explainer” for their members and the general public alerting them to

the change in absentee-ballot procedures related to birthdate, among other

provisions of SB 202 with which they took issue. Fifty Reasons Why SB202 is a Bad

Bill, FAIRFIGHT.COM, https://fairfight.com/wp-

content/uploads/2021/04/TOP-50-Reasons-Why-SB202-Is-Harmful-to-

Voters.pdf (last visited April 28, 2022). The “explainer” even made indirect

mention of the Martin and DPG cases. Id.

      Fair Fight also lobbied the United States Congress about SB 202. On

April 20, 2021, 370 days before filing Plaintiffs’ Motion, Fair Fight, through

counsel that represent Plaintiffs8 in this very case, authored a comprehensive

report on election topics in Georgia for the United States Senate Judiciary

Committee. The materials raised the issue of SB 202’s absentee ballot/birth date

requirement. Georgia’s Enduring Racial Discrimination in Voting and the Urgent



decided on a very limited record at the preliminary-injunction stage, Plaintiffs
now carry the burden of establishing injury from the evidence that has been
compiled during discovery.
8 See “Acknowledgements” on p. 2 of the Report.



                                        –7–
      Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 10 of 28




Need to Modernize the Voting Rights Act, Fair Fight Action Report to the Judiciary

Committee United States Senate, April 20, 2021, attached as Ex. A at pp. 42, 129.

      During the course of this advocacy, neither Fair Fight nor Baconton sought

any kind of relief from the judicial branch, including a motion to reconsider the

Court’s order on mootness. Plaintiff Sixth District African Methodist Episcopal

church (“Sixth District”) did, however, and filed a new lawsuit asserting the

same Civil Rights Act claim against SB 202’s birthdate requirement that Plaintiffs

now seek to raise in this lawsuit during trial. Sixth Dist. of Afr. Methodist

Episcopal Church v. Kemp, No. 1:21-CV-01284-JPB, 2021 WL 6495911 (N.D. Ga.).

No Plaintiff in this lawsuit sought to intervene in that case, nor did Sixth District

contend it was a related case. That lawsuit remains pending with discovery

underway.

      Despite these very public acts in opposition to the very provision of the

law Plaintiffs’ Motion seeks to inject into this four-year-old dispute, Plaintiffs

claim that Mr. Germany’s testimony forced their hand. This contention fails for

several reasons. First, the Secretary’s involvement (whatever it was) is not an

operative fact in a Civil Rights Act analysis, which focuses on materiality, not

intent. 52 U.S.C. § 10101. Put differently, whether the Secretary wrote the bill or

just provided input is wholly irrelevant to Plaintiffs’ proposed claim.


                                         –8–
      Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 11 of 28




      Second, Plaintiffs’ Motion should be viewed in the context and history of

its other attempts to alter the scope and duration of this case. See, e.g., Doc. Nos.

[631, 637, 734]. In fact, during the preliminary pretrial conference—six months

after the passage of SB 202—Plaintiffs requested more discovery “to talk about

current day.” (Tr. Nov. 29, 2021 at 29:2.) At no time, however, did Plaintiffs move

to amend, supplement, or otherwise alter their case until after the entry of two

pre-trial orders and trial examination of more than 25 witnesses.

      This Court has also considered SB 202 in the context of this lawsuit and

said that the legislation “is not being litigated in the case sub judice.” Doc. No.

[641] at 1-2 n.1. Even then, Plaintiffs did not raise an issue. The same is true

during the April 1, 2022 pretrial conference after the Court said that it did not

want a bifurcated trial (on merits and remedy), because it wanted everything to

end at once. (Tr. Apr. 1, 2022 at 15:20-16:17). Thus, despite all these opportunities,

occurring well after SB 202 became law and the Sixth District filed its lawsuit

challenging the birth date requirement, Plaintiffs remained silent.

      Now, as the Court prepares to enter Day 14 of trial, the Court and the State

are faced with another attempt to unnecessarily delay the final resolution of this




                                         –9–
      Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 12 of 28




2018 lawsuit.9 There is no justification for expanding the case now; the Federal

Rules of Civil Procedure do not support it and neither does binding precedent.

For any of these reasons, the Court should deny Plaintiffs’ Motion so the Parties

and the public can obtain a long-awaited resolution.

                              LEGAL STANDARD

      Because the Court has entered a pretrial order, Plaintiffs’ reliance on Rule

15 is misplaced. Rather, two provisions of Rule 16 govern Plaintiffs’ Motion. The

most specific and applicable rule is Rule 16(e) which provides, in part, that

amendments to pretrial orders “issued after a final pretrial conference [are] only

to prevent manifest injustice.” Fed. R. Civ. P. 16(e) (emphasis added). See also

L.R. 16.4(B) (same). The pretrial order says the same. See Doc. No. [753] Am.-

Final Consol. Pretrial Order ¶ 29 (pretrial order “supersedes the pleadings” and

“shall not be amended except by Order of the court to prevent manifest

injustice”). The burden of showing manifest injustice falls squarely on Plaintiffs

as the moving party. In re Georgia Steel, Inc., 71 B.R. 903, 905 (Bankr. M.D. Ga.




9 At the April 1 pretrial conference, Plaintiffs suggested that their trial time

would be less than 15 days: “THE COURT: My understanding is that the
plaintiffs still think you're going to need 15 days. At one point y’all had 52
witnesses. I understand that might be a shorter list of witnesses right now.
MS. BRYAN: I’m afraid it’s not much shorter.” Tr. Apr. 1 at 9:2-6.

                                        – 10 –
       Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 13 of 28




1987) (emphasis added) (citing Smith v. Ford Motor Co., 626 F.2d 784, 795 (10th

Cir. 1980).

      Plaintiffs never cited Rule 16(e), nor have they raised an argument to

satisfy it. See Doc. No. [804-1] at 11, quoting WSB-TV v. Lee, 125 F.R.D. 191, 193

(N.D. Ga. 1988) (citing Rule 15).10 Instead, Plaintiffs cite to Rule 16(b)’s more

permissive standard. This is wrong, but it does not lead to a different outcome.

Rule 16(b)(4) provides that a scheduling order can be changed only for “good

cause” and courts have said that good cause requires the exercise of diligence.

Gallien v. Binkley, CV408-037, 2008 WL 4916394, at *2 (S.D. Ga. Nov. 14, 2008)

(citing John Morrell & Co. v. Royal Caribbean Cruises Ltd., 243 F.R.D. 699, 701

(S.D.Fla.2007); Bowers v. Am. Heart Ass’n., 513 F.Supp.2d 1364, 1367–68

(N.D.Ga.2007); Pushko v. Kelebener, 2007 WL 2671263, at *1 (M.D.Fla. Sept.7,

2007)). As discussed below, Plaintiffs have not done so here.

      Moreover, Plaintiffs’ real reliance is on Rule 15, including most of their

cited authority. See Doc. No. [804-1] at 17; Keith v. Volpe, 858 F. 2d 467 (9th Cir.



10 Plaintiffs also cite to Lussier v. Dugger, 904 F. 2d 661, 670 (11th Cir. 1990) in

support of their position. But Lussier stands for the proposition that “a
supplemental pleading is an appropriate vehicle by which to ‘set forth new facts
in order to update the earlier pleading.’” Id. (emphasis added). It says nothing
about updating or amending a pretrial order or the standard for adding a new
claim altogether in such circumstances.

                                         – 11 –
      Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 14 of 28




1988); Halliburton & Assocs., Inc. v. Dobbs, 774 F. 2d 441 (11th Cir. 1985); W. Ala.

Women’s Ctr. v. Miller, 318 F.R.D. 143 (M.D. Ala. 2016)). The entry of the pretrial

order renders those cases largely irrelevant to the question presented by

Plaintiffs’ Motion. When a motion to supplement “is filed after the scheduling

order’s deadline, a party must first demonstrate good cause under Rule 16(b).”

Aguayo v. Morehouse Sch. Of Med., Inc. No. 1:06-cv-1095-JOF, 2007 WL 9710273

at *3 (N.D. Ga. Dec. 10, 2007). Again, Plaintiffs have not met, and have made no

attempt to meet, this standard.

      Even under the tendered but inapplicable Rule 15, courts are free to reject

proffered amendments where any of the following exist: “(1) where there has

been undue delay, bad faith, dilatory motive, or repeated failure to cure

deficiencies by amendments previously allowed; (2) where allowing amendment

would cause undue prejudice to the opposing party; or (3) where amendment

would be futile.” Bryant v. Dupree, 252 F.3d 1161, 1163 (11th Cir. 2001).

                                  ARGUMENT

I.    Plaintiffs’ eleventh-hour motion cannot satisfy Rule 16(e)’s “manifest
      injustice” nor Rule 16(b)’s “good cause” standards.

      Plaintiffs’ Motion should first be denied because they cannot meet the high

standard required to amend this Court’s pretrial order pursuant to Rule 16(e),

which their brief does not even address. But there should be no doubt that the

                                       – 12 –
      Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 15 of 28




“manifest injustice” standard controls in the Eleventh Circuit: once pretrial

orders are “freely and fairly entered into, [they] are not to be set aside except to

avoid manifest injustice.” United States v. Varner, 13 F.3d 1503, 1508 (11th Cir.

1994). As the Ninth Circuit explained, pretrial orders are critical to

      implementing the purposes of the Federal Rules of Civil Procedure
      “to secure the just, speedy, and inexpensive determination of every
      action.” F. R. Civ. P. 1. Unless pretrial orders are honored and
      enforced, the objectives of the pretrial conference to simplify issues
      and avoid unnecessary proof by obtaining admissions of fact will be
      jeopardized if not entirely nullified … Disregard of these principles
      would bring back the days of trial by ambush and discourage timely
      preparation by the parties for trial.

United States v. First Nat’l Bank, 652 F.2d 882, 886 (9th Cir. 1981). Thus,

amendments to pretrial orders should be granted only where “no substantial

injury will be occasioned to the opposing party, the refusal to allow the

amendment might result in injustice to the movant, and the inconvenience to the

court is slight.” Varner, 13 F.3d at 1507. Plaintiffs can show none of these factors.

      First, expanding the case now severely prejudices and injures Defendants.

Taxpayers have already invested tremendous resources in this litigation, and the

same taxpayers are defending SB 202—including the birthdate issue—before

Judge Boulee. Duplicating such efforts before this Court, in the middle of trial

and on the eve of what Plaintiffs once described as their penultimate trial date,




                                        – 13 –
       Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 16 of 28




would needlessly expand costs, efforts, and burden on Defendants. Other courts

in this Circuit have denied relief to similar motions even made before trial:

      Defendant asserts that permitting Plaintiff to add claims now “will
      greatly prejudice [Defendant’s] ability to obtain finality and defend
      itself, not to mention result in substantial additional costs and
      attorney's fees.” Resp. at 4. Defendant notes, “Far too much time has
      passed and [Plaintiff's] motion is far too late to contemplate allowing
      Plaintiff to re-plead his complaint yet again .... This case is on the eve
      of trial—the joint pretrial stipulation is due in a week—and Plaintiff
      seeks to start from scratch.” Id. As Defendant writes, “It is too late to
      start over.” Id. Therefore, the Motion will be denied due to Plaintiff's
      failure to show good cause to extend the deadline to amend pleadings
      and because of the prejudice that Defendant would suffer if Plaintiff
      were permitted to add his claims at this late stage in the litigation.

Castilla v. Nat’l Union Fire Ins. Co. of Pa., 11-62086-CIV, 2012 WL 2344518, at *2

(S.D. Fla. June 20, 2012).

      Second, this injury and prejudice would be compounded by Defendants’

likely need for additional discovery. Plaintiffs seek to avoid this by claiming that

there are no issues of fact in dispute. This is a bridge too far and, respectfully, not

a decision Plaintiffs can make for Defendants. More importantly, an examination

of Plaintiffs’ proposed supplemental complaint belies their assertion. Doc. No.

[804-1] at 18. For example, Plaintiffs freely admit that their “supplemental

allegations also update their SAC to allege that certain Plaintiffs anticipate

engaging in activities to counteract these SB 202 date-of-birth provisions…” Id. at




                                        – 14 –
      Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 17 of 28




13. Defendants are not required to accept these assertions at face value, and how

and when Plaintiffs purportedly plan to counteract SB 202’s birth date

requirement is as important as what they may be planning.11 Ultimately,

Defendants are entitled to explore and challenge these allegations through

discovery and to determine whether such allegations, if true, rise to a level

sufficient to accord Plaintiffs standing on their new claim.12 If the Court were to

deny Defendants this opportunity, they would be severely prejudiced—even

more so because the 30(b)(6) designees of Fair Fight and Baconton have already




11 Notably, Baconton recently conceded during cross-examination that it doesn’t

presently know what it plans to do regarding voting issues in the 2022 election
cycle. Trial Tr. 2652:17-21.
12 Despite Fair Fight’s past acts, it is unknown what the organization plans to do

during the election. Similarly, Baconton has not offered anything but additional
sermon time, but as shown through testimony, Baconton’s commitment to the
principles of Matthew 25 compel it to remain engaged in voting rights issues,
regardless of any specific practice. Trial Tr. 2608:19-2611:4. Additional topics of
discovery that may also be required include the practices of county election
officials in considering the new absentee-ballot envelopes, the materiality of each
piece of information on the new envelope to its processing, and—apparently—
any training materials on the new application and envelope. In addition, while
the defense of laches would seem to apply here on the face of the proposed
Supplemental Complaint, Defendants are aware that this Court has previously
described it as “fact-dependent,” and Defendants would likely require discovery
to test the defense in the light of the Court’s prior decision on a preliminary-
injunction motion. DPG, 347 F. Supp. 3d at 1339.

                                       – 15 –
       Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 18 of 28




testified at trial, precluding any testing of these new allegations in any context.13

Obviously, such discovery will come at significant expense.

      Third, Plaintiffs’ delay creates precisely the kind of “trial by ambush” that

pretrial orders are to prevent. Plaintiffs knew of SB 202’s absentee ballot changes

for over a year.14 At least Fair Fight engaged in federal and state advocacy

against them. While seeking help from the legislative branches of the state and

federal governments, however, Plaintiffs never sought assistance from this Court

until well into trial. There is no just cause for this—and forcing Defendants to

litigate a new claim in this 2018 litigation when other similar lawsuits are

challenging SB 202 is manifestly unjust and a waste of public resources.

      Fourth, Plaintiffs are not seeking limited relief. Instead, Plaintiffs hope to

inject an entirely new cause of action—arising under the Civil Rights Act—into

this case where that type of claim has never been at issue. Doc. No. [582]. In other

words, this is not a situation where Plaintiffs moved on a particular statute, lost

at summary judgment on that claim, and are seeking to revive it based on new



13 Defendants recognize that Plaintiffs could be granted leave to re-call these

witnesses.
14 Plaintiffs’ strategic use of only two of the various Plaintiffs to move for relief

under this new claim is apparently calculated to avoid the reality that the Sixth
District AME has already sued the same defendants on the identical issue in
another case.

                                        – 16 –
       Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 19 of 28




evidence. Here, Plaintiffs raise a federal statute that has never been a part of this

lawsuit to challenge a well-known and year-old state law. Under these

circumstances, Plaintiffs cannot demonstrate granting the Motion is necessary to

avoid manifest injustice or that good cause (and diligence on Plaintiffs’ part)

exists to do so.

      Plaintiffs cannot satisfy Rule 16’s standard to amend a pretrial order and

this should end the Court’s inquiry. Indeed, even the “good cause” standard is

not satisfied given Plaintiffs’ lack of diligence. Plaintiffs’ Motion wrongly

depends on convenience and efficiency (including summary judgment before

discovery), which are Rule 15 factors that do not arise under Rule 16.

II.   Alternatively, Plaintiffs fail to satisfy the inapposite standard for Rule
      15’s amendment.

      Under Rule 15(d), a motion for leave to supplement a pleading may be

denied if there is substantial reason to do so, including on the basis of undue

delay, bad faith, dilatory motive, undue prejudice, or futility, among other

reasons. Amick v. BM & KM, Inc., 275 F. Supp. 2d 1378, 1381 (N.D. Ga. 2003).

Each consideration weighs against Plaintiffs.

      A.     Plaintiffs’ Motion will unduly delay this case.

      As discussed above, granting Plaintiffs’ Motion will doubtlessly prevent




                                        – 17 –
       Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 20 of 28




resolution anytime soon.15 This is for several reasons, including that Defendants

are entitled to, and would be prejudiced without, conducting discovery to test

the allegations in the Supplemental Amended Complaint. Plaintiffs attempt to

pre-counter this elemental principle by incorrectly claiming that discovery is

unnecessary because there are no facts in dispute. See Doc. No. [804-1] at 18. In

addition to the reasons discussed above, this option may be convenient for

Plaintiffs, but it is legally and factually detached from reality.

      On the law, Plaintiffs’ contention that Martin and DPG control is flawed.

Those cases had different records, different legislation, different procedural

postures, different parties, and different standards of review. This is not a close

call. Eleventh Circuit precedent removes any doubt: “a clear change in the law by

Congress could also justify a panel of this Court in not following an earlier

panel’s decision, where the prior panel’s decision was based on legislation that

had been changed or repealed.” United States v. Romeo, 122 F.3d 941, 942 n.1

(11th Cir. 1997).

      Finally, all of this is occurring during a trial that is taking longer than

anyone expected. Plaintiffs said they needed 15 days to put on their case, but that




15 See supra Section I.



                                        – 18 –
       Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 21 of 28




appears to have been quite aspirational. This Court hoped the case would be a

“week, since it’s a bench trial,” but that too has not materialized. (Tr. Hr’g Nov.

29, 2021 at 5). After 13 days of trial, Plaintiffs still have about half of their case to

present before Defendants’ case commences. Given this, a new claim will cause

significant delay—including additional (even expedited) discovery, a likely

motion to dismiss, summary judgment briefing, another potential directed

verdict, and testimony—that would assuredly prevent this Court from reaching

resolution under the existing trial calendar and perhaps even this calendar year.

Given the proceedings in Judge Boulee’s courtroom, this result is unwarranted

and weighs strongly against Plaintiffs’ Motion.

      B.     Plaintiffs’ Motion represents bad faith.

      Pretrial orders serve to “secure the just, speedy, and inexpensive

determination of every action.” Fed. R. Civ. P. 1. Plaintiffs’ counsel

acknowledged this in the pretrial conference: “[T]he pretrial order date is gonna

halt [discovery]… Because that’s where it does draw the line in the sand for both

sides.” Doc. No. [717], 9:13-17. Apparently not. Instead, and after inexcusable

delay, Plaintiffs bring this Motion to subvert the very purpose of pretrial orders

and the Federal Rules. Making matters worse, Plaintiffs cannot claim that SB 202




                                          – 19 –
       Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 22 of 28




took them by surprise. This makes the lack of reasonable explanation for their

undue delay particularly concerning given the political nature of this trial.16

      Plaintiffs make no attempt to even address the yawning gulf of time

between their knowledge of their potential claim, and the time they actually

chose to level. And their silence is deafening.17 What is not, however, is how

Plaintiffs have used the litigation in press conferences, solicitations, and other

means of engendering political support for their efforts in the courtroom. See,

e.g., Trial Tr. at 51:2-5; 1441:7-9. This is no reason to needlessly prolong this

dispute and delay resolution of the properly presented legal issues when it is

becoming increasingly clear that Plaintiffs want to do everything within the

arguable bounds of non-sanctionable conduct to avoid a final resolution of their

claims.




16 If there were any doubt of the ongoing use of the litigation to further Fair

Fight’s political aims, the organization held a press conference after opening
statements. https://fairfight.com/mon-4-11-530pm-et-fair-fight-action-inc-v-
raffensperger-opening-press-conference/ It has also used the litigation to find
additional political supporters. See Defendants’ Trial Ex. 756; Trial Tr. 1442:9-
1445:3.
17 As discussed above, Mr. Germany’s testimony about the Secretary’s discussion

of election legislation is wholly irrelevant to the question of liability under the
Civil Rights Act—which is not an intent-based claim—and thus cannot form the
basis of Plaintiffs’ bringing this issue to the Court. 52 U.S.C. § 10101.

                                        – 20 –
      Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 23 of 28




      C.     Granting Plaintiffs’ Motion would unduly prejudice Defendants.

      Defendants have already shown how expanding the case will prejudice

them and Georgia taxpayers. Each are entitled to a full and fair conclusion of the

issues brought by Plaintiffs in this case without additional delay to accommodate

another claim that could have, and should have, been brought over 400 days ago

after the Governor first signed SB 202. Injecting new theories and new claims at

this point prevents Defendants from obtaining that resolution, and it risks

inconsistent rulings between this Court’s order(s) and ones from Judge Boulee on

the same issue.18

      Other courts in this district have denied similar motions even under less

compelling circumstances. See Nance v. Ricoh Elecs., Inc., No. 1:06-cv-2396-RWS,

2008 WL 926662, at *7 (N.D. Ga. Apr. 4, 2008), aff’d, 381 F. App’x 919 (11th Cir.

2010). In Nance, Judge Story denied a motion filed under Rule 15, as it would

“have the effect of beginning this case anew on entirely different footing, and in

effect, form an entirely distinct action.” Id. at *20. The same reasoning applies

here and warrants denying Plaintiffs’ Motion.




18 Plaintiffs are free to intervene in, provide amici support, or otherwise make

their views known in the cases actually reviewing these issues where discovery
is ongoing before Judge Boulee.

                                       – 21 –
       Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 24 of 28




      D.     Plaintiffs’ Motion is futile.

      “In the Eleventh Circuit, a proposed amendment is futile when the

allegations of the proffered complaint would be unable to withstand a motion to

dismiss.” Amick, 275 F. Supp. 2d at 1381 (citation omitted). Plaintiffs ask this

Court and Defendants to presume their supplemental allegations easily would

survive a motion to dismiss based on a preliminary injunction entered on a

different statute with different facts. Doc. No. [804-1] at 20, citing DPG, 347 F.

Supp. 3d at 1340-41. But, as discussed, preliminary injunctions were issued in

DPG and Martin well before Jacobson, which limits the ability of the federal

courts to order county-level relief against state level officials in election cases. 974

F.3d at 1236. Other cases reinforced that ruling as to absentee ballots. See, e.g.,

Ga. Republican Party, 2020 WL 7488181 at *2.

      Plaintiffs attempt to sidestep this clear directive from the Eleventh Circuit

by highlighting a recent order in two consolidated SB 202 cases. See Doc. No.

[804-1] at 21 citing Sixth Dist. Of African Episcopal Methodist Church v. Kemp,

No. 1:21-cv-01284-JPB, 2021 WL 6495360 (N.D. Ga. Dec. 9, 2021) (“Sixth Dist.

AME”). But Plaintiffs miss several important points. First, Sixth Dist. AME

involves plaintiffs who sued several county defendants in addition to state

officials. Second, in Sixth Dist. AME, the court did not specify whether the



                                         – 22 –
      Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 25 of 28




discrete absentee ballot claims in the consolidated cases were sufficient to

survive the defendants’ motion to dismiss standing alone. Instead, the court held

more broadly that, “to satisfy redressability requirements for standing purposes,

Plaintiffs need to show only that an injunction against County Defendants

would address at least some of the alleged injuries in this case.” Sixth Dist.

AME at *18. Plaintiffs here chose not to sue county officials. They cannot now

sidestep binding precedent from the Eleventh Circuit through their proposed

supplemental complaint.

                                 CONCLUSION

      For the reasons stated above, Defendants respectfully ask that the Court

deny Plaintiffs’ Motion for Leave to File a Supplemental Complaint. This Court

should conclude that no briefing is necessary on Plaintiffs’ Motion for Partial

Summary Judgment on this new claim because it is not part of this case.

      Respectfully submitted this 4th day of May, 2022.

                                  Christopher M. Carr
                                  Attorney General
                                  GA Bar No. 112505
                                  Bryan K. Webb
                                  Deputy Attorney General
                                  GA Bar No. 743580
                                  Russell D. Willard
                                  Senior Assistant Attorney General
                                  GA Bar No. 760280


                                       – 23 –
Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 26 of 28




                        State Law Department
                        40 Capitol Square, S.W.
                        Atlanta, Georgia 30334

                        /s/ Josh Belinfante
                        Josh Belinfante
                        Georgia Bar No. 047399
                        jbelinfante@robbinsfirm.com
                        Vincent R. Russo
                        Georgia Bar No. 242628
                        vrusso@robbinsfirm.com
                        Carey A. Miller
                        Georgia Bar No. 976240
                        cmiller@robbinsfirm.com
                        Brian E. Lake
                        Georgia Bar No. 575966
                        blake@robbinsfirm.com
                        Alexander Denton
                        Georgia Bar No. 660632
                        adenton@robbinsfirm.com
                        Melanie L. Johnson
                        Georgia Bar No. 466756
                        mjohnson@robbinsfirm.com
                        Edward A. Bedard
                        Georgia Bar No. 926148
                        Danielle M. Hernandez
                        Georgia Bar No. 736830
                        dhernandez@robbinsfirm.com
                        Robbins Alloy Belinfante Littlefield LLC
                        500 14th Street N.W.
                        Atlanta, Georgia 30318
                        Telephone: (678) 701-9381
                        Facsimile: (404) 856-3255

                        Bryan P. Tyson
                        Georgia Bar No. 515411
                        btyson@taylorenglish.com
                        Bryan F. Jacoutot

                             – 24 –
Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 27 of 28




                        Georgia Bar No. 668272
                        bjacoutot@taylorenglish.com
                        Diane Festin LaRoss
                        Georgia Bar No. 430830
                        dlaross@taylorenglish.com
                        Loree Anne Paradise
                        Georgia Bar No. 382202
                        lparadise@taylorenglish.com
                        Taylor English Duma LLP
                        1600 Parkwood Circle
                        Suite 200
                        Atlanta, Georgia 30339
                        Telephone: (678) 336-7249

                        Attorneys for Defendants




                             – 25 –
      Case 1:18-cv-05391-SCJ Document 818 Filed 05/04/22 Page 28 of 28




                        CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), I hereby certify that the foregoing brief was

prepared double-spaced in 13-point Book Antiqua font, approved by the Court

in Local Rule 5.1(C).



                               /s/Josh Belinfante
                               Josh Belinfante




                                      – 26 –
